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MlCHAEL W. DOBB\NS

KENNETH aAaNEs § CLERK. man D\STRM CQURT
Plut`nlt_`jf )
) No. 05 CV _m
-vs- )
) (jury demand )
CORE`.Y FI\,AGG, and )
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Defendams. )
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Plaintiff, by counsel, allege as follows: SmATE JUDGE COLE

l4 This is a civil action arising under 42 U.S.C. §1983. Thc jurisdiction of
this Court is conferred by 28 U.S.C. §1343.

2. Plaintiff Kenncth Barnes is a resident of the Not'thern District of lllinois.
3. Dcfendant City of Cbicago is an lllinois municipal corporation

4. Defendant Corey Flagg was at all times relevant acting under color of his

authority as a Chicago police officer.

5. On or about March 16, 2004, defendant Flagg and other Chicago police
ofticers unlawfully entered plaintiff’s residence, conducted an intrusive
and disruptive scarch, and fabricated evidence that was used to justify the

arrest of plaintiff

6. In thc course of making the arrest, one of the Chicago police officers with
defendant Flagg used excessive and unreasonable force, causing plaintiff

to sustain personal injuries.

 

 

 

 

Case: 1:05-Cv-06229 Document #: 1 Filed: 10/28/05 Page 2 of 2 Page|D #:2

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7. As the result of the above described wrongdoing, plaintiff remained in
custody until February of 2005, when all charges against him were

dismissed in a manner indicative of his innocence

8. As the direct and proximate result of the above described acts, plaintiff
was deprived of rights secured by the Fourth and Fourteenth Amendment
to the Constitution of the United States and subjected to the Illinois torts
of battery, false imprisonment and malicious prosecution, for which the

City of Chicago is liable under the doctrine of respondeat superior.
9. Plaintiff hereby demands trial by jury.

Wherefore plaintiff requests that judgment be entered in his favor in the
amount of one hundred and thousand dollars, and that the Court grant whatso-

ever other relief as may be appropriatc.

  

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K{ENNETH N. FL! AN
200 Suuth Michigan Avenue

Suite 1240
Chicago, lllinois 60604*2430

(3]2) 427-3200
attorney for plat'rn‘i)jr

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